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                            INFORMATION SHEET

DEFENDANT: DHRUV JANI

YEAR OF BIRTH: 1983

ADDRESS: India

COMPLAINT FILED?         X YES            NO

      IF YES, PROVIDE MAGISTRATE CASE NUMBER: 21-mj-00122-STV

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                  __   YES         X    NO

OFFENSES:        Count 1: 18 U.S.C. '' 1956(h), 1956(a)(1)(B)(i) Conspiracy to
                 Commit Money Laundering (Concealment)

                 Counts 2-6: 18 U.S.C. ' 1956(a)(1)(B)(i) Money Laundering
                 (Concealment)

                 Count 7: 18 U.S.C. ' 875(c) Interstate Transmission of a
                 Threatening Communication

LOCATION OF OFFENSE: Logan County, Colorado

PENALTY:         Count 1: Imprisonment of NMT 20 years, a fine of NMT $500,000 or
                 twice the value of the property involved in the transaction,
                 whichever is greater, or both fine and imprisonment; $100 special
                 assessment; a term of supervised release of NMT 3 years;
                 restitution and forfeiture.

                 Counts 2-6: Imprisonment of NMT 20 years, a fine of NMT
                 $500,000 or twice the value of the property involved in the
                 transaction, whichever is greater, or both fine and imprisonment;
                 $100 special assessment; a term of supervised release of NMT 3
                 years; restitution and forfeiture.

                 Count 7: Imprisonment of NMT 5 years, a fine of NMT $250,000, or
                 both fine and imprisonment; $100 special assessment; a term of
                 supervised release of NMT 3 years; restitution


AGENT:           Gary Dickens, Special Agent
                 Social Security Administration, Office of Inspector General

                 Sonia Hacker, Special Agent
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                      United States Postal Inspection Service, Office of Inspector
                      General

AUTHORIZED BY: Martha A. Paluch
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

  X    five days or less

  __ over five days

      other

THE GOVERNMENT will seek detention in this case.

OCDETF case: NO
